Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 1 of 48 PageID# 2498




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division




GEORGE HENGLE and LULA WILLIAMS,
on behalf of themselves and all
individuals similarly situated,

       Plaintiffs,

V.                                                Civil Action No. 3:18-cv-100


MARK CURRY, et al.,

       Defendants.




                                MEMORANDUM OPINION


       This   matter    is    before    the   Court      on   the   MOTION    TO    TRANSFER


TO    THE   NEWPORT    NEWS   DIVISION       BY   AWL,    INC.,     AMERICAN    WEB    LOAN,

INC. AND      RED STONE, INC. (ECF No.              3) and NATIONWIDE AWL CLASS

PLAINTIFFS' MOTION FOR LIMITED INTERVENTION (ECF No. 77) to join

the    motion   to     transfer.       AWL,   Inc.,      American      Web     Loan,    Inc.

(collectively, ''AWL")          and    Red    Stone,      Inc.      ("Red    Stone";    with

AWL, collectively, "the AWL Defendants")^ move to transfer this

action to the Newport News Division, where an action brought by

the    putative      intervenor       plaintiffs—Royce           Solomon,      et    al.   v.




^ American Web Loan appears to be a name under which AWL, Inc.
sometimes does business. Therefore, even if those companies are
different, see Compl. (ECF No. 1) SIH 13-14, they can be referred
to as a single entity for        purposes of this memorandum.
Similarly, although AWL and Red Stone must be distinguished for
the factual background here, they can be treated as a single
unit when considering the motion to transfer.
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 2 of 48 PageID# 2499




American Web Loan^ Inc., et al.. No. 4:17-cv-145 {'"Solomon")—is

currently pending. For the reasons set forth below, both motions

will be granted.

                                        BACKGROUND


 A.     Factual Background

        As alleged in the Complaint, Mark Curry ("Curry") was the

"architect      of    [a]     rent-a-tribe      lending   scheme"       involving     the

Otoe-Missouria Tribe ("the Tribe") and an entity for which Curry

was     the     chief        executive      officer,     the     MacFarlane       Group.

Compl. i 12.         At     some    point    after     2009,    Curry      created    the

MacFarlane Group and associated with the Tribe in order to form

AWL.    Although      the     Tribe     characterized     AWL    as   an     independent

tribal lending entity, the Tribe allegedly had no control over

AWL's    income       or    expenses,     and   simply    allowed     Curry     and   the

MacFarlane Group to use the entities as a front to offer illegal

high-interest loans, in return for which the Tribe received a 1%

flat fee of AWL's revenue. The money loaned was transferred from

a bank account controlled by the MacFarlane Group, which tribal

officials could not access. Then, after the loan agreements were

executed,       the        MacFarlane    Group    accepted       consumer      payments

directly, and the only funds that AWL or the Tribe ever received

or    handled   was the        specified    revenue    percentage. Id. H 31-37,

40-41.    The   Tribe       was    similarly    uninvolved      in   AWL's   day-to-day
 Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 3 of 48 PageID# 2500




operations,          which    were     mostly     conducted         by    MacFarlane      Group

employees located outside the Tribe's reservation. Id. iSI 38-39.

        After     AWL        began     operating,           federal       regulators      began

""cracking down" on lending entities connected with other tribes,

and    the     New    York     Department       of     Financial         Services     issued     a

cease-and-desist letter regarding the Tribe's lending activities

in New York. Curry subsequently sold the MacFarlane Group to Red

Stone, a tribal entity, to insulate himself from any potential

liability.       Nonetheless, the Complaint alleges.                       Red   Stone still

operates in the same way as the MacFarlane Group—that is, with

no    role     for    the     Tribe,    and     with    substantial         involvement         by

Curry. Id. 1ISI 42-57.

        The    funding       for     AWL's    scheme     comes      from    Medley      Capital

Corporation          {""Medley       Capital")        and     its     subsidiary.        Medley

Opportunity          Fund     II,      LP    (""Medley        Fund").       Medley      Capital

allegedly       created       Medley    Fund     to    allow    investors        to    purchase

interests in AWL's loans. Medley Capital then solicited third-

party investments, and invested its own funds, in Medley Fund,

which in turn provided the MacFarlane Group with the substantial

capital       underlying      AWL's loans.        Medley       Fund      continues to         fund

AWL today. I^ If 59-67.

        Curry    intentionally         chose     Virginia       as    a    place      where   AWL

would    offer       loans     and     collect       payments,       notwithstanding           his

knowledge that the loans would be illegal under Virginia's usury
 Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 4 of 48 PageID# 2501




laws. The MacFarlane Group, through AWL, then began marketing,

initiating,         and    collecting       loans    in    Virginia.       Consumers        were

required to electronically sign a form loan agreement created by

Curry       and   the      MacFarlane       Group.    Under        the    terms     of      that

contract, the loans            were subject to an annual percentage                         rate

C'APR")      that    was     much   higher     than       12%.   However,       neither      the

Tribe nor any of the defendants had a consumer finance license

permitting them to charge interest at such a high rate, and they

never attempted to obtain such a license. Id. 11 68-71, 74.

       George       Hengle    ('"Hengle")      and    Lula       Williams       ('"Williams";

with    Hengle,           collectively,       "Plaintiffs")—residents                  of    the

Richmond      Division—both         obtained    loans       from    AWL.    Hengle's        loan

was subject to an APR of 737.97%, and Williams' loan was subject

to an APR of 593.12%. Because of those interest rates, Hengle

and Williams paid $4,397.20 and $2,718.87, respectively, to AWL.

Id. 11 72-73, 76-77.

 B.    Procedural Background

       On    February        13,    2018,    Plaintiffs          brought    suit       against

Curry, the AWL Defendants, Medley Fund, and Medley Capital. See

Compl. (ECF No. 1). They asserted six class claims:

       (1)    COUNT ONE, Violations of the Racketeer Influenced and

              Corrupt               Organizations                  Act             ("RICO"),

              18 U.S.C. § 1962(a),            against       Medley       Fund    and    Medley

              Capital;
 Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 5 of 48 PageID# 2502




      (2)     COUNT      TWO,    Violations       of    RICO,    18 U.S.C. § 1962(b),

              against all defendants;

      (3)     COUNT THREE, Violations of RICO, 18 U.S.C. § 1962(c),

              against Curry and the AWL Defendants;

      (4)     COUNT      FOUR,   Violations        of   RICO,    18 U.S.C. § 1962(d),

              against all defendants;

      (5)     COUNT FIVE, Violations of Virginia Usury Laws, against

              all defendants; and

      (6)     COUNT SIX, Unjust Enrichment, against all defendants.

Id. SISI 84-153.         In   the    Civil    Cover       Sheet       attached     to     the


Complaint,     Plaintiffs indicated            that this case             was   related    to

another action pending before this Court, Lula Williams, et al.

V. Big Picture Loans, LLC, et al.. No. 3:17-cv-461 (''Williams'').

ECF No. 1-4 at 1.


      The     AWL   Defendants       moved   to    transfer      this     action   to     the


Newport News Division on February 21, 2018. ECF No. 3. Shortly

thereafter, the Court requested statements from Plaintiffs and

the AWL Defendants about why this case is related to Williams

and   Solomon,      respectively.      ECF Nos.         10, 11. After the parties

had   given    their      positions, the       Court found           that the    case     was

related to      Williams, but did            not express any conclusion                 about

its   relation      to    Solomon.    See    ECF    No.   75    at   2.   The    next    day,

Royce Solomon, Jodi Belled, Michael Littlejohn, and Giulianna

Lomaglio      (collectively,         "the     Solomon      Plaintiffs")          moved    to
    Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 6 of 48 PageID# 2503




intervene in support of the AWL Defendants' motion to transfer.

ECF      No.   77.     The    Court       then    granted       Plaintiffs'      request        for

jurisdictional discovery because                      some      defendants      had     moved   to

dismiss        the   Complaint       on    grounds       that    implicated      the     Court's

subject matter jurisdiction. ECF No. 76. Nonetheless, given the

AWL      Defendants'          and     Curry's         subsequent         motions        to   stay

jurisdictional discovery,                  ECF    Nos.    96,    98,    it is    unclear        how

much progress has been made in that regard. Finally, Plaintiffs

recently        moved    to    have       their    attorneys       appointed       as    interim

class     counsel,      which       the    AWL    Defendants      have    responded to          but

not formally opposed. ECF Nos. 99, 102.

    C.   Factual and Procedural Background in Solomon

         The Solomon Plaintiffs filed suit against AWL, Curry, the

MacFarlane Group, Medley Fund, Medley Capital, and eight other

entities^ in the Newport News Division on December 15, 2017. See

ECF      No.    1    (Docket    No.       4:17-cv-145).          They    filed     an    amended

complaint against AWL, Curry, the MacFarlane Group, Medley Fund,

Medley Capital and eight other entities and individuals^ on March




^ Those other entities are SOL Partners ("SOL"); Oakmont Funding,
Inc.; Dinero Investments, Inc.; Chieftain Funding, Inc.; Dant
Holdings, Inc.; DHI Computing Service, Inc. ("GOLDPoint"); Smith
Haynes & Watson, LLC; and Middlemarch Partners ("Middlemarch").

^    Those     other    entities          and individuals         are    SOL;    Medley      LLC;
Medley Management, Inc.; Medley Group, LLC (with Medley Capital
and Medley Fund, collectively, "the Medley Defendants"); Brook

                                                  6
 Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 7 of 48 PageID# 2504




9, 2018. See Solomon Am. Compl. (ECF No. 41, Docket No. 4:17-cv-

145). That litigation is predicated on the same facts as this

action.   Specifically, the           Solomon       Plaintiffs     allege       that:     (1)

Curry worked with the Tribe to create AWL as a front to offer

illegal     high-interest          loans;    (2)     AWL's      lending    process        was

almost    entirely        controlled        by     entities      managed        by    Curry,

including     the    MacFarlane        Group,       and    the    Tribe     had       little

involvement in AWL's operations; (3) the Tribe received only 1%

of the substantial revenues from AWL's lending scheme; (4) the

Tribe's   acquisition        of the    MacFarlane         Group through         Red    Stone

was a sham, as Curry continues to be heavily involved in AWL's

lending operation; and (5) Medley Fund is primarily responsible

for   financing     AWL's    lending.       See    id. SISI 81-126. AWL's            lending

process is also described in the same general terms as in this

case,    although    the     Solomon    Amended       Complaint         focuses      on   the

substance     of    AWL's     loan     agreements          in    much     more       detail,

including their truth-in-lending disclosures and choice of law

and arbitration provisions. See id. ff 127-37, 185-97. Although

the   Solomon    Amended     Complaint       names    eight      defendants that          are

not   defendants     in     this    case,     those   defendants        either       provide

services in      support of AWL's lending operation or                      help Medley

Capital    and     Medley    Fund     raise      lending     capital      for    AWL.     See



Taube; Seth      Taube (collectively, ^^the               Taubes"); GOLDPoint; and
Middlemarch.
    Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 8 of 48 PageID# 2505




id. SISI     21-23,      26,    28-37.         In    other          words,       their      inclusion          as

defendants         is    more       reflective            of       the    greater          detail      in     the

Solomon Amended Complaint than of any difference between the key

parties in Solomon and this case.

        The only significant factual contrast between the Solomon

Amended Complaint and the Complaint here is the composition of

the     proposed        classes.      Like       Plaintiffs,              the     Solomon         Plaintiffs

obtained       loans from           AWL    and      made           payments      in    connection            with

those      loans.       Solomon      also      resides             in    Virginia,         albeit      in     the

Newport       News      Division,        and    the interest                rate      on    his      loan     was

726.13%,       well      in    excess      of       the    maximum          12%    APR      permitted          by

Virginia      law.      Id. SISI 10,       145.          Belleci,         however, is            a    Nebraska

resident, and her interest rate of 595.06% exceeded the maximum

16% APR that Nebraska permits. Id. SISI 11, 154-58. Littlejohn is

a    South    Carolina         resident         who       was       charged       an   interest             rate,

597.35%, above the              relevant maximum of 12%. Id. SISI 12, 166-68.

Finally,       Lomaglio        is    a    California                resident,         and    her       481.60%

interest       rate      was    higher         than       California's             maximum           10%     APR.

Id. 5ISI 13,    182-84.         As   a     result,         the          Solomon    Plaintiffs              allege

their      class     claims     on    behalf          of       a    putative       nationwide              class,

instead       of the      limited         Virginia         classes          claimed         by   Plaintiffs

here. Compare id. 5 198 with Compl.                                     85-86.

        The    number         and     type          of     claims          in     Solomon            are    also

different. The Solomon Plaintiffs assert nine class claims:
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 9 of 48 PageID# 2506




    (1)   COUNT    ONE,     Violations     of    RICO,    18 U.S.C. § 1962(c),

          against      American     Web    Loan,       Curry,    the       MacFarlane

          Group, SOL, the Medley Defendants, and the Taubes;

    (2)   COUNT    TWO,     Violations     of    RICO,    18 U.S.C. § 1962(d),

          against      American     Web    Loan,       Curry,    the       MacFarlane

          Group,     SOL,     the     Medley      Defendants,         the        Taubes,

          GOLDPoint, and Middlemarch;

    (3)   COUNT     THREE,     Violations        of     the    Electronic          Funds

          Transfer     Act    (^"EFTA"),     against      American         Web     Loan,

          Curry,     the      MacFarlane        Group,        SOL,        the    Medley

          Defendants, the Taubes, and GOLDPoint;

    (4)   COUNT    FOUR,     Violations    of    the    Truth    in       Lending   Act

          (''TILA"),    15 U.S.C. § 1638(a)(3),           Failure         to    Disclose

          Finance Charge, against AWL, Inc.;

    (5)   COUNT            FIVE,          Violations                 of           TILA,

          15 U.S.C. § 1638(a)(4),          Failure       to     Disclose         Finance

          Charge Expressed as an Annual Percentage Rate, against

          AWL, Inc.;

    (6)   COUNT SIX, Violations of TILA, 15 U.S.C. § 1638(a)(5),

          Failure    to    Disclose    the      Total    of   Payments,         against

          AWL, Inc.;

    (7)   COUNT            SEVEN,          Violations                of           TILA,

          15 U.S.C. § 1638(a)(6),          Failure       to     Disclose        Number,
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 10 of 48 PageID# 2507




              Amount, and Due        Dates or Period Payment Scheduled to

              Repay the Total of Payments, against AWL, Inc.;

       (8)    COUNT            EIGHT,           Violations             of           TILA,

              15 U.S.C. § 1638(a)(1),             Failure      to      Disclose         the

              Identity of the Creditor, against AWL, Inc.;

       (9)    COUNT NINE, Unjust Enrichment, against all defendants.

Id. SISI 209-76.


       After the filing of the Solomon Amended Complaint on March

9,   responsive       motions    were   filed     on   April   8    and     9,   and   the

Solomon Plaintiffs' responses are not due until June 8. ECF No.

92   (Docket    No.    4:17-cv-145).       No    jurisdictional        discovery        has

been   conducted       or,   apparently,        even   requested.      However,        like

Plaintiffs in this case, the Solomon Plaintiffs recently moved

for the appointment of their attorneys as interim class counsel.

ECF No. 100 (Docket No. 4:17-cv-145).

                                     DISCUSSION


I.     Solomon Plaintiffs' Motion to Intervene


       As    noted, the      Solomon    Plaintiffs     have    moved      to intervene

for the limited purpose of joining the AWL Defendants' motion to

transfer      this    action    to   the   Newport     News    Division.         Although

Plaintiffs consent to the Solomon Plaintiffs' intervention. Pis.

Intervention Resp. (ECF No. 91) at 1-2, the Court will briefly

address the merits of the Solomon Plaintiffs' motion here.




                                           10
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 11 of 48 PageID# 2508




        The Solomon Plaintiffs seek to intervene under Fed. R. Civ.


P.     24(a)(2).         Under     that       provision,         a     court      must       permit

intervention by any party that ""claims an interest relating to

the property or transaction that is the subject of the action,

and    is    so     situated     that       disposing       of   the         action    may    as   a

practical         matter   impair       or     impede      the       [party]'s        ability      to

protect       its     interest,         unless        existing         parties        adequately

represent that interest.'' Alternatively, the Solomon Plaintiffs

move to intervene under Rule 24(b), pursuant to which a court

may permit intervention by anyone who ""has a claim or defense

that shares         with   the main          action    a   common      question       of law       or

fact."       Fed.     R.    Civ.       P.     24(b)(1)(B).            ""In     exercising       its

discretion [under          Rule 24(b)], the court must consider                          whether

the intervention will unduly delay or prejudice the adjudication

of the original parties' rights." Id. 24(b)(3).

        The threshold issue for any intervention motion is whether

that    motion      is   timely.       See    id.    24(a),      24(b)(1). To          determine

whether a motion to intervene is timely, the Court must ""assess

three       factors:       first,       how     far        the       underlying        suit     has

progressed;         second,      the    prejudice          any   resulting        delay       might

cause the other parties; and third, why the movant was tardy in

filing its motion." Alt v. U.S. EPA, 758 F.Sd 588, 591 (4th Cir.

2014).      ""[T]he      most    important           factor . . . is            the    prejudice

caused to the other parties by the delay." Hill Phoenix, Inc. v.

                                                11
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 12 of 48 PageID# 2509




Systematic Refrigeration, Inc., 117 F. Supp. 2d 508, 514 (E.D.

Va. 2000). ''The determination of timeliness is committed to the

[Court's]       sound   discretion," which             is "wide" in            this      context.

Alt, 758 F.3d at 591 (internal quotations omitted).

        If a motion to intervene is timely, the Court's "decision

whether       to   grant     permissive      intervention       is       a    matter      'within

[its] sound discretion.'" In re Rivada Networks, 230 F. Supp. 3d

467, 472 (E.D. Va. 2017) (quoting Smith v. Pennington, 352 F.3d

884, 892 (4th Cir. 2003)). "'[L]iberal intervention is desirable

to    dispose      of   as   much    of   the     controversy        involving           as    many

apparently         concerned    persons      as   is   compatible            with   efficiency

and     due    process.'"       Liberty       Mut.     Fire    Ins.          Co.    v.    Lumber

Liquidators,         Inc.,     314     F.R.D.        180,     183    (E.D.          Va.       2016)

(alteration in original) (quoting Feller v. Brock, 802 F.2d 722,

729 (4th Cir. 1986)).

        The Solomon Plaintiffs do not explain how they satisfy the

elements for mandatory intervention under Rule 24(a)(2). Much of

their    briefing       discusses      why     this    action       is       not    related      to

Williams, an issue that the Court has already decided. Even if

the Court can vaguely discern why the Solomon Plaintiffs have an

interest in this action that might be                       affected         by the Court's

decisions,         given     the     Solomon      Plaintiffs'        involvement               with

Curry's       alleged   rent-a-tribe         scheme,    it    is    unclear         why   Hengle

and Williams do not adequately represent that interest. Because

                                             12
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 13 of 48 PageID# 2510




the Solomon Plaintiffs have failed to answer that question, they

will not be permitted to intervene under Rule 24(a).

       However, their          request for           permissive intervention stands

on firmer ground. The similarities between this case and Solomon

make it clear that the Solomon Plaintiffs have claims that share


common legal and factual questions with Plaintiffs' claims. Fed.

R.    Civ.   P. 24(b)(1)(B). Plaintiffs suggest that the motion to

intervene is not timely because of the gap between the filing of

the    motion    to   transfer         and    the    motion        to    intervene.     But    the


explanation        (or   lack         thereof)       for     the    delay       in    moving    to

intervene     is     only   one       factor    in    the    timeliness         analysis.      See

Alt, 758 F.3d at 591; cf. Steves & Sons, Inc. v. JELD-WEN, Inc.,

323 F.R.D. 553, 558 (E.D. Va. 2018) (''MM]ere passage of time is

but    one      factor      to    be     considered           in        light    of    all     the

circumstances.'" (quoting               Hill v.       W. Elec. Co., 672               F.2d    381,

386 (4th     Cir.     1982))).        This     action      has     not    advanced     past the

pleading     stage,      and     by    consenting       to    intervention.           Plaintiffs

concede that they are not prejudiced in any way by intervention,

especially      in    light      of     its    limited       purpose.       For      those    same

reasons, intervention would not unduly delay this litigation. It

is admittedly unclear why the Solomon Plaintiffs must intervene

instead of participating as amici curiae, see Lee v. Va. Bd. of

Elections, No. 3:15CV357-HEH, 2015 WL 5178993, at *5 (E.D. Va.

Sept. 4, 2015), but the former will allow them to comment on the

                                                13
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 14 of 48 PageID# 2511




need    for   transfer     slightly          more    effectively        than   the     latter.

Moreover, as noted, the Fourth Circuit generally takes a liberal

approach towards permissive intervention. See Feller, 802 F.2d

at 729.


       The    Solomon     Plaintiffs         have    met    the    test      for    permissive

intervention. Their motion is granted, and they are allowed to

intervene for the sole purpose of joining in the AWL Defendants'

motion to transfer. Accordingly, both the AWL Defendants' and

the Solomon Plaintiffs' briefs may be considered in connection

with the transfer motion.


II.    AWL Defendants' Motion to Transfer


       The         AWL     Defendants               seek      a         transfer             under


28 U.S.C. § 1404(a).            That    statute          dictates      that,       ''[f]or    the

convenience        of    parties       and     witnesses,         in    the    interest        of

justice, a district court may transfer any civil action to any

other district or division where it might have been brought or

to     any    district     or      division         to     which       all    parties         have

consented."^ Courts must answer two questions to resolve motions

under this provision: ""(1)              whether the claims might have                       been

brought in the transferee forum, and (2) whether the interest of

justice      and   convenience      of the          parties   and       witnesses      justify



  Although the AWL Defendants' motion concerns the more unique
intra-district transfer, the plain language of Section 1404(a)
indicates that the principles concerning transfers between
districts apply equally to transfers between divisions.
                                              14
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 15 of 48 PageID# 2512




transfer     to     that    forum." Koh          v.    Microtek      Int^l^           Inc.,    250    F.

Supp. 2d 627, 630 (E.D. Va. 2003); see also Glob. Touch Sols.,

LLC V. Toshiba Corp., 109 F. Supp. 3d 882, 889 (E.D. Va. 2015).

       To    satisfy       the   first     facet       of    the   test,        ^'a    movant    must

establish that both venue and jurisdiction with respect to each

defendant is         proper in          the transferee          district." Koh, 250                   F.

Supp. 2d at 630. The second facet directs the court to assess

several      factors,       including:      (1)       ease    of   access        to     sources       of

proof; (2) the convenience of the parties and witnesses; (3) the

cost    of     obtaining          the     attendance          of     witnesses;           (4)        the

availability of compulsory process; (5) the interest in having

local controversies decided at home; (6) in diversity cases, the

court's      familiarity          with     the        applicable      law;        and     (7)        the

interest of justice. Byerson v. Equifax Info. Servs., LLC, 467

F.   Supp.    2d    627,     631    (E.D.    Va.       2006).      "^^While      each     of    those

factors       may      be        weighed,        Mtjhe          principal             factors        to

consider . . . are               plaintiff's           choice        of     forum,            witness

convenience, access to sources of proof, party convenience, and

the interest of justice.'" Id. at 632 (quoting Samsung Elecs.

Co., Ltd. V. Rambus, Inc., 386 F. Supp. 2d 708, 715 (E.D. Va.

2005)).      No     single       factor     is        dispositive          in     the     transfer

analysis, which is highly fact-dependent. Samsung Elecs., 386 F.

Supp. 2d at 716. As a result, courts have significant discretion

to   decide       transfer       motions    "according          to    an      ^individualized,

                                                 15
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 16 of 48 PageID# 2513




case-by-case consideration of convenience and fairness.'" Id. at

715 (quoting Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29

(1988)). However, the movant '^bears the burden of proving that

the   circumstances          of      the     case       are     strongly    in     favor    of

transfer." Global Touch Sols., 109 F. Supp. 3d at 890 (emphasis

in original) (internal quotations omitted). Thus, ''transfer is

not appropriate where it will only serve to shift the balance of

inconvenience         from     one     party    to       the    other."     Id.    (internal

quotations omitted).

      A. Propriety of Newport News Division as Transferee Forum

      The Section 1404(a) factors are only relevant if the AWL

Defendants can show that all defendants in this action could be


properly sued in the Newport News Division for their underlying

conduct here. See Koh, 250 F. Supp. 2d at 630 ("[A] movant must

establish that both venue and jurisdiction with respect to each

defendant       is    proper      in   the     transferee         district."       (emphasis

added));    15       Charles      A.   Wright       &    Arthur     R.   Miller,     Federal

Practice    &    Procedure § 3845            (4th       ed.    updated   Apr.     2018)    ("In

suits against multiple defendants, transfer is proper only to a

district    in       which     all      of     them       are     subject    to     personal

jurisdiction and in which venue is proper for an action against

all of them.").




                                               16
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 17 of 48 PageID# 2514




          1. Venue


       The    federal       venue    statute         allows       civil     actions       to    be


brought in: (1) a district in which any defendant resides, if

all defendants are residents of the state in which the district

is located; (2) a district in which a ''substantial part of the

events . . . giving          rise     to       the    claim       occurred";       or     (3)    a

district      in    which    any     defendant        is     subject       to     the    court's

personal jurisdiction, if no district satisfies the first two

options.       28     U.S.C. § 1391(b).              The     same     rules        apply       for

determining the appropriate division within the Eastern District

of Virginia. E.D. Va. Civ. L.R. 3(C). Although the RICO statute

also      authorizes         venue        in        certain        districts,           see     18

U.S.C. § 1965(a); ESAB Grp., Inc.                    v. Centricut, Inc., 126 F.3d

617, 626 (4th Cir. 1997), that provision does not help the AWL

Defendants here because it points to the districts where suit

may be brought, and not to divisions within a district. Thus,

Section      1965(a)    would    only show           that the       Eastern       District      of

Virginia is a proper venue, not that either the Newport News or

Richmond      Divisions       are     proper.         Moreover,           Local    Rule       3(C)

specifically refers to Section 1391 alone, so there is no basis

for relying on Section 1965 to determine the divisions in which

venue may lie.

       The    AWL    Defendants      do    not specify            which    part    of Section

1391    makes       venue   in     the    Newport          News    Division       proper       for

                                               17
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 18 of 48 PageID# 2515




Plaintiffs' claims. Because multiple defendants do not reside in

Virginia, let alone the Newport News Division, see Compl. SISI 12,

16-17, Section 1391(b)(1) cannot apply here. Consequently, the

only plausible basis for venue is Section 1391(b)(2) (or (3), if

no division is proper under subsection (2)). This action does

not involve       particular           property, so the relevant question is

whether ^^a substantial part of the events . . . giving rise to

the    claim    occurred"         in    the    Newport      News   Division.     The    AWL

Defendants      need    not      establish     that   the    division   ""has   the     most

substantial contacts to the dispute. Rather, it is sufficient

that a substantial part of the events occurred in that venue,

even if a greater part of the events occurred elsewhere." Power

Paragon, Inc. v. Precision Tech. USA, Inc., 605 F. Supp. 2d 722,

726    (E.D.    Va.    2008)     (internal      citation      omitted).   Accordingly,

the Court must ""review the entire sequence of events underlying

[each] claim" and determine if part of that sequence occurred in

the Newport News Division. Mitrano v. Hawes, 377 F.3d 402, 405

(4th   Cir. 2004) (internal quotations omitted); see                          also Power

Paragon, 605 F. Supp. 2d at 726.

       Although       the     AWL      Defendants'       discussion     of      venue    is

limited, even a cursory review of the Complaint reveals that a

substantial portion of the events underlying Plaintiffs' claims

occurred       in the    Newport        News   Division.      RICO claims       under the

various    subparts         of    Section      1962   involve      slightly     different

                                               18
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 19 of 48 PageID# 2516




elements,         but    the    common       denominator        is     the    existence      of    an

enterprise          through      a     pattern         of    racketeering           activity      or

collection of unlawful debt. See 18 U.S.C. § 1962(a)-(d); Field

V.   GMAC LLC, 660             F, Supp. 2d          679,     686 (E.D.         Va.    2008). The

collection of interest at an APR greater than 12% is also the

focus    of    Plaintiffs'           claim    for      violations       of Virginia's          usury

laws,       Compl. fSI 141-43,          so    the      locus      of    the   RICO     and     usury

claims       is     essentially        identical         for      purposes      of    the      venue

analysis. In addition, to prove unjust enrichment under Virginia

law,    a    plaintiff         must   show,       inter     alia,      that    he    conferred      a

benefit on the defendant. See Schmidt                           v.     Household     Fin. Corp.,

II, 276 Va. 108, 116 (2008). In this case, the collection of the

unlawful      debt      and    the    conferral        of   the   benefit      arise    from      the


same act: a class member's payment of principal or interest on

an   allegedly          usurious AWL loan.             That act necessarily occurred

wherever the class member was located when the payment was made.

In   addition,          the    payment       of   funds     was      made     possible       by   the

consumers' execution of loan agreements with AWL, an act that-

given       AWL's    electronic         loan      process—also          occurred       where      the

class member was located. The putative class definition includes

only those consumers who resided in Virginia when they executed

their       loan     agreements        with       or     made     payments       to     AWL.      See

Compl.         85, 99, 111,            125, 135,         145. As the Solomon Amended

Complaint          illustrates,        this       class      definition         would     include

                                                  19
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 20 of 48 PageID# 2517




Solomon, who resides in the Newport News Division, and there are

doubtless     numerous      other    consumers    in     that       division    who    fall

within Plaintiffs' putative class. Therefore, the AWL Defendants

have demonstrated that a substantial part of the events giving

rise     to   Plaintiffs'         claims   occurred       in    the       Newport       News

Division, such that venue there would be proper.

          2. Personal Jurisdiction


       Whether the AWL Defendants have shown that every defendant

here could be subject to personal jurisdiction in the Newport

News    Division    based    on    Plaintiffs'    claims       is    a   more   difficult


question.        The      AWL     Defendants'      discussion             of     personal

jurisdiction is not just limited, as was the case with venue; it

is nonexistent. See AWL Reply (ECF No. 15) at 3-4. Given that

failure to address the matter at all, unless it is obvious from

the Complaint or otherwise undisputed that all defendants would

be     subject     to   personal      jurisdiction        in    the       Newport       News

Division, the AWL Defendants have not met their burden to show

that transfer is permissible under Section 1404(a).

       Rule   4(k)      allows     district     courts    to        exercise     personal

jurisdiction       over     defendants     in    two   circumstances            that     are

pertinent here: (1) where a state court in the state where the

district court is located could exercise personal jurisdiction

over the defendant.          Fed.   R. Civ.     P. 4{k)(1)(A); and              (2)    where

authorized by a federal statute, id. 4(k)(1)(C). Both approaches

                                           20
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 21 of 48 PageID# 2518




supply a possible basis for a court in the Newport News Division

to exercise personal jurisdiction over the defendants here, but

the results of each analysis differ.

              a. Virginia's Long-Arm Statute

       Under Rule 4(k)(l){A), "[a] federal district court may only

exercise      personal       jurisdiction       over    a   foreign        [defendant]     if

such jurisdiction is authorized by the long-arm statute of the

state in which it sits and application of the long-arm statute

is   consistent       with    the   due    process      clause        of   the     Fourteenth

Amendment." Consulting Eng'rs. Corp. v. Geometric Ltd., 561 F.3d

273,    277    {4th     Cir.     2009).     Virginia's           long-arm        statute   is

coextensive with the limits of the Due Process Clause, so "'the

statutory and constitutional inquiries merge into the question

of   whether   the . . . defendants             had    sufficient       minimum     contacts


with Virginia to satisfy due process." D'Addario v. Geller, 264

F. Supp. 2d 367, 378 (E.D. Va. 2003).

       That long-arm statute allows courts to

              exercise   personal   jurisdiction  over   a
              person, who acts directly or by an agent, as
              to a   cause  of action    arising from the
              person's:

                1. Transacting            any     business         in      this
                   Commonwealth;

                2. Contracting   to   supply  services                        or
                   things in this Commonwealth;

                3. Causing       tortious       injury      by   an     act   or
                   omission in this Commonwealth; [or]


                                            21
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 22 of 48 PageID# 2519




                4. Causing   tortious   injury  in   this
                   Commonwealth  by   an act or  omission
                     outside        this      Commonwealth           if       he
                     regularly does or solicits business, or
                     engages in any other persistent course
                     of   conduct,  or   derives  substantial
                     revenue from goods used or consumed or
                     services      rendered,     in      this
                     Commonwealth;

Va.    Code § 8.01-328.1(A).               Those     provisions         must        be     read

alongside      the   core     due     process      requirement      that      a     defendant

""have certain minimum contacts with [the forum state] such that

the   maintenance      of the      suit does       not offend      traditional notions


of    fair    play     and    substantial         justice."       Int^l      Shoe    Co.     v.

Washington,      326     U.S.       310,    316     (1945)       (internal         quotations

omitted). Accordingly,

              when   a   defendant's        contacts       with   the     forum
              state    are   continuous    and    systematic,
              irrespective of whether the transaction in
              question had sufficient contacts with the
              state, a court may exercise general personal
              jurisdiction   over the    defendant.   In the
              absence    of   continuous    and    systematic
              contacts,    a  court   may    still   exercise
              specific   personal   jurisdiction    when  the
              contacts       relate   to   the     cause    of    action     and
              create     a    substantial         connection       with      the
              forum state.


Diamond      Healthcare       of   Ohio,    Inc.    v.     Humility     of    Mary       Health

Partners,      229     F.3d    448,    450    (4th       Cir.     2000)      (emphasis      in

original) (internal citation omitted).

       The absence of any evidence from the AWL Defendants about

their or the other defendants' conduct in Virginia makes it hard



                                             22
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 23 of 48 PageID# 2520




to conduct a proper constitutional inquiry. It seems clear from

the allegations in the Complaint—and the AWL Defendants appear

to    concede—that          AWL,   by   operating          its    website,       intentionally

offered the purportedly usurious loans to consumers in Virginia,

and     then        collected      payments          from        those        same     consumers.

Nonetheless, the frequency of those interactions is unknown, and

there    is    no    indication     that       AWL    conducted        further       business       in


Virginia. Thus, it cannot be said that AWL's contacts with the

Commonwealth         were "''so     continuous            and   systematic as to render

[it] essentially at home'" here. Daimler AG v. Bauman, 571 U.S.

117,     139    (2014)       (alteration        in        original)      (quoting          Goodyear

Dunlop    Tires       Operations,        8.A.        v.    Brown,       564    U.S.        915,   919

(2011)).       The    AWL    Defendants        therefore         have    not     shown       that   a

court    in     the    Newport      News       Division         would    have        had    general

personal jurisdiction over AWL.

       However, AWL could have been subject to specific personal

jurisdiction         within the limits of the                    Due   Process Clause. AWL

effectively reached into Virginia by soliciting consumers' loan

applications, requiring individuals to complete applications and

loan agreements on AWL's website, providing the consumers with

loans,     and       collecting         loan     payments         electronically.             Those

actions       implicate       several      provisions            of    Virginia's          long-arm

statute: transacting business in the Commonwealth, contracting

to    supply     things       (loans)      in    the       Commonwealth,             and    causing

                                                23
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 24 of 48 PageID# 2521




tortious injury through an act in the Commonwealth (collecting

loan payments through the website). Va. Code § 8.01-328.1(A)(1)-

(3). Moreover, the claims asserted against AWL all arise from

that    conduct,       since    those   claims     involve    the    issuance         of   or

collection on usurious loans offered by AWL in Virginia. This

close    connection       demonstrates     that AWL       should    have      ^'reasonably

anticipated being           haled into court" in Virginia in connection

with    its    actions,       World-Wide   Volkswagen       Corp.   v.    Woodson,         444

U.S. 286, 297 (1980); see also Diamond Healthcare, 229 F.3d at

450, and that subjecting AWL to jurisdiction in the Commonwealth

is    reasonable in         light of the factors outlined                in    World-Wide

Volkswagen, see 444            U.S. at 292. Consequently, a court in the

Newport       News    Division    could    have    exercised       specific         personal

jurisdiction over AWL without offending due process.

        However,      the     Court   lacks      enough    information         to    assess

general or specific jurisdiction as to the remaining defendants-

Red     Stone,       Curry,    Medley     Capital,    and     Medley       Fund.      Those

defendants       are        almost    certainly      not     subject       to       general

jurisdiction         in   Virginia:     Curry     appears    to     be   domiciled         in

Puerto Rico, see Compl. f 12; see also Daimler, 571 U.S. at 137;

Red Stone appears to be incorporated and to have its principal

place of business elsewhere, and likely is not "essentially at

home" here, see Compl. SI 15; see also Daimler, 571 U.S. at 137,

139; and Medley Capital and Medley Fund are in the same position

                                            24
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 25 of 48 PageID# 2522




as Red Stone, see Compl. SISI 16-17. As for specific jurisdiction,

although the Complaint references those defendants' activities,

it is    unclear      whether     they      ^purposefully established                minimum

contacts in [Virginia],'" such that they should have anticipated

being   brought to court          here in connection                 with AWL's lending

operation. ePlus Tech., Inc. v. Aboud, 313 F.3d 166, 176 (4th

Cir. 2002)       (quoting     Burger     King     Corp.    v.    Rudzewicz,         471    U.S.

462,    475     (1985)).     Thus,     on   this     record,          the    Court    cannot

determine     with    any    certainty      the    nature       of    those    defendants'

contacts      with    Virginia,      essentially          making      the     due    process

analysis a guessing game.              For that reason, the AWL Defendants

have failed to show that the non-AWL defendants could be subject

to personal jurisdiction in the Newport News Division pursuant

to Rule 4 (k)(1)(A).

              b. RICO Statute


       The jurisdictional analysis under Rule 4(k)(l)(C) is more

straightforward.       The    RICO   statute       indicates         that ''[a]11         other

process in any action . . . under this chapter may be served on

any    person    in    any    judicial      district       in        which    such    person

resides, is found, has an agent, or transacts his affairs." 18

U.S.C. § 1965(d).           The   Fourth        Circuit     has        held    that       this




                                            25
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 26 of 48 PageID# 2523




provision authorizes nationwide service of a summons.^ See ESAB

Grp., 126 F.3d at 626. As a result, personal jurisdiction over a

defendant with respect to RICO claims may be exercised anywhere

in    the    United    States,     as   long    as    the    defendant    was   properly

served       under   Section   1965(d)     and       exercising     jurisdiction    does

not    violate       the   Fifth   Amendment.        See    Trs.   of   the   Plumbers   &


Pipefitters Nat. Pension Fund v. Plumbing Servs., Inc., 791 F.3d

436, 443 (4th Cir. 2015) (''Plumbers & Pipefitters'^); ESAB Grp.,

126 F.3d at 627-28. For the Fifth Amendment to be implicated, a

court's exercise of personal jurisdiction would have to "'result

in    such    extreme inconvenience        or    unfairness        as   would   outweigh

the congressionally articulated policy evidenced by a nationwide

service of process provision.'" Plumbers & Pipefitters, 791 F.3d




^ This conclusion puts the Fourth Circuit in the clear minority.
There is no dispute that RICO permits nationwide service of
process, but most courts have held that Section 1965(b)—which
authorizes nationwide service of a summons only if "it is shown
that the ends of justice require that other parties residing in
any other district be brought before the court"—grants such
authority. See Sadighi v. Daqhighfekr, 36 F. Supp. 2d 267, 272
(D.S.C. 1999); U.S. Dep't of Justice, Civil RICO: A Manual for
Federal     Attorneys      93-94     (2007),      available     ^
https://www.justice.gov/sites/default/files/usam/legacy/2014/10/
17/civrico.pdf.   The   Fourth   Circuit's   reading   effectively
"eradicate[s] the 'ends of justice' inquiry by using [S]ection
1964(d) to acquire personal jurisdiction." D'Addario, 264 F.
Supp. 2d at 386 n.22. Medley Capital and Medley Fund clearly
disagree with ESAB Group, given their motions to dismiss for
lack of personal jurisdiction in this case, ECF No. 54, and in
Solomon, ECF No. 64 (Docket No. 4:17-cv-145). Nonetheless, ESAB
Group has not been overruled, and the Court will not depart from
its rationale here.

                                           26
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 27 of 48 PageID# 2524




at 444 (quoting Denny^s, Inc. v. Cake, 364 F.3d 521, 524 n. 2

(4th     Cir.       2004)).        "[W]hen       a     defendant         is    a     United      States

resident,          it    is    ^highly        unusual . . . that inconvenience                     will

rise     to     a       level      of    constitutional            concern.'"          Id.      (second

alteration in original) (quoting ESAB Grp., 126 F.3d at 627).

        All defendants here operate in the United States, so they

could presumably be served with process in a judicial district

where     they          reside,      are      found,       or    transact          their     affairs.®

Furthermore,            there      is    no    evidence          that    any       defendant      would

suffer    extreme          inconvenience          or      unfairness         from    litigating        in

the     Newport         News       Division.         Defendants         have    conducted         their

business       in       connection       with    the       underlying         dispute      in    states

like Oklahoma, Delaware, and                     New      York. Even if there                would     be

some inconvenience in                   having to defend the                  action in       Virginia

instead       of    one       of   those   states, ''it           is    not    so    extreme     as    to

defeat the exercise of personal jurisdiction pursuant to valid

service       of    process,         although        it    may    certainly          factor     into    a

transfer       decision." ESAB                Grp.,    126      F.3d    at    627.    Finally,        the

Complaint's             allegations           show        that     the        RICO     claims         are




® Defendants were served with process in this case through the
Virginia Secretary of State as their statutory agent. ECF No.
13; see also Va. Code § 8.01-329(A). But the provision allowing
such service refers back to Virginia's long-arm statute, and
whether all defendants could be subject to personal jurisdiction
under that law is unclear. However, nothing in the record shows
an impediment to appropriate RICO service on defendants.
                                                     27
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 28 of 48 PageID# 2525




"'colorable"—that         is,    they        are    ""arguable       and         nonfrivolous,

whether or not [they] would succeed on the merits.'" D'Addario,

264 F. Supp. 2d at 388 (quoting Davis v. Featherstone, 97 F.3d

734,    737-38    (4th     Cir.    1996)).          Consequently,       a    court      in   the

Newport News Division could exercise personal jurisdiction over

the    defendants    as   to    the     RICO   claims     consistent        with    the    Fifth


Amendment. The doctrine of pendent personal jurisdiction                                   would

also    permit    that         court    to     exercise        jurisdiction         over     the

closely-related       usury       and    unjust      enrichment      claims.         See     ESAB

Grp., 126 F.3d at 628.

       For   these   reasons,          venue   would      be   proper       in    the   Newport

News Division, and personal jurisdiction could be exercised over

all defendants by a court there. Accordingly, all of Plaintiffs'

claims could have been brought in that division.

       B. Section 1404(a) Factors

       Because the AWL Defendants have satisfied the first part of

Section 1404(a), the Court must decide whether the convenience

of the parties and witnesses and the interest of justice support

a transfer. As noted, courts "consider four factor when deciding

whether      to   transfer         venue:          (1)   the     weight          accorded     to

plaintiff's choice of venue; (2) witness convenience and access;

(3)    convenience        of    the     parties;         and   (4)   the         interest      of

justice." Plumbers & Pipefitters, 791 F.3d at 444.




                                               28
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 29 of 48 PageID# 2526




            1. Plaintiffs' Choice of Forum


        [A] plaintiff s choice of venue is entitled to substantial

weight       in    determining          whether       transfer          is   appropriate."            Id.

(internal         quotations          omitted).       That       choice      is     afforded         less

weight in the transfer analysis if the chosen venue is not the

plaintiff's home forum, or if ''the nucleus of operative facts"

is not in that forum. Samsung Elecs., 386 F. Supp. 2d at 716.

Even    in    that       case,    however,          the    plaintiff's           choice    is    still

relevant "so long as there is a connection between the forum and

the plaintiff's claim that reasonably and logically supports the

plaintiff's decision to bring the case in the chosen forum." Id.

       Plaintiffs         reside in           the   Richmond          Division,      Compl.           10-

11,    so    this       action    is    in    their       home    forum.         Because   the       acts

allegedly constituting the RICO enterprise and the collection of

unlawful      debt       may     have    occurred          in     a    number      of   places,       an

obvious nucleus of operative facts does not present itself here.

To    the    extent       that    there       is    one,     it       is   most    likely       in   the

Western      District       of        Oklahoma,      where        the      AWL    Defendants         have

their operations and where the Tribe is located. Nonetheless, as

discussed at some length, AWL has clearly engaged in conduct in

Virginia—including               in     the     Richmond         Division,         as     the    loans

obtained          and    paid    by     Plaintiffs          reflect.         Accordingly,            this

factor still weighs in Plaintiffs' favor even if the bulk of the

underlying events happened elsewhere.


                                                    29
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 30 of 48 PageID# 2527




       The AWL Defendants also contend that Plaintiffs' choice of

forum should be given less weight because this case is a class

action. The Court has recognized that ''courts often give less

weight      to   the     plaintiff's         choice     of forum      in   class    actions"

because     that    type        of    case    has "numerous       possible       plaintiffs,

each possibly able to make a showing that a particular forum is

best suited for the adjudication of the class' claim." Byerson,

467    F.   Supp.      2d       at   633     (internal    quotations       omitted).      This

factor      still      weighed         against        transfer   in    Byerson,      though,

because the Eastern District of Virginia was "home both to the

[pjlaintiffs        and     to       key   non-party      witnesses."      Id.    Here,   the

Solomon Plaintiffs' filing of a very similar case in a different

division in Virginia illustrates the precise concern expressed

in Byerson. Unlike in Byerson, although the Richmond Division is

Plaintiffs' home forum, the parties have not identified any non-

party witnesses here, so the cost of discovery in the Newport

News Division will not be appreciably more expensive than the

cost     here.^     As      a    result       this     factor    still     weighs    against

transfer, but slightly less so than in Byerson.




^ Plaintiffs argue that the cost of discovery is "not close,"
Pis. 0pp. (EOF No. 12) at 11, apparently focusing on the cost of
the consolidated litigation that might result if this action is
transferred. But that argument improperly assumes that Judge
Jackson—who is presiding over Solomon—will consolidate the two
cases. The better comparison is between the cost of discovery
here and in the Newport News Division if this case proceeds
                                                 30
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 31 of 48 PageID# 2528




         2. Witness Convenience and Access to Evidence


      Witness       convenience       is    "of    considerable      importance"      in

deciding a motion to transfer. Samsung Elecs., 386 F. Supp. 2d

at   718.     This    factor     looks       to   which     forum    better    enables


witnesses to testify in person, as "live testimony is preferred

to other means of presenting evidence." Id. In this analysis,

the convenience of non-party witnesses takes priority over that

of   party    witnesses.      Id.     Of    course,      courts   cannot     judge   the

relative     convenience       of   different       fora    without    evidence,      so

"Mtjhe party asserting witness inconvenience has the burden to

proffer,      by      affidavit       or      otherwise,      sufficient       details

respecting the witnesses and their potential testimony to enable

the court to assess the materiality of evidence and the degree

of inconvenience.'" Id. (quoting Koh, 250 F. Supp. 2d at 636).

      The AWL Defendants have not identified any witnesses that

would be inconvenienced if this action proceeded in the Richmond

Division instead           of the   Newport       News   Division,    nor    have    they

explained     why     transfer      would     otherwise     improve    the    parties'

access to evidence. In fact, they effectively concede that this

factor      does     not    support        transfer,     noting     that    "[n]either




independently. Moreover, even accepting Plaintiffs' premise,
they ignore the substantial benefits of having witnesses common
to this case and Solomon testify in one proceeding instead of in
parallel actions in different courthouses. See Byerson, 467 F.
Supp. 2d at 634-35.

                                             31
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 32 of 48 PageID# 2529




Division       presents      any       particular        advantage          for    AWL    or    the

witnesses      that    would      be    required      to     travel     long       distances     to

either    location." AWL            Reply      at   5.    This   acknowledgement            makes

sense    in    light    of    the      relatively        short       distance       between     the

Richmond and Newport News Divisions.

        That    proximity,          however,          also      undermines          Plaintiffs'

contentions regarding the greater convenience of litigating this

action    in    the    Richmond        Division.         Contrary      to    what    Plaintiffs

seem to believe, the key witnesses in this case are not Virginia

consumers;      they     are      the    individuals           who    participated         in    or

contributed to defendants' alleged RICO enterprise, none of whom

appear    to    reside       in    Virginia.        Assuming         those        witnesses     are

travelling from other states to Virginia, having them drive to

the Newport News Division instead of the Richmond Division is

not inconvenient. Likewise, the discovery that might be sought

from Virginia state agencies in Richmond may be important, but

it is hard to see how seeking that discovery from Newport News

instead of Richmond makes the Richmond Division ''plainly a much

more    convenient      venue."         Pis.    0pp.      at    11.    Consequently,           this

factor    is    mostly       neutral     in     the      transfer      analysis,         although

possibly weighing slightly against transfer.

          3. Party Convenience

       As the above discussion shows, transferring the case to the

Newport News Division will not measurably affect the parties'

                                               32
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 33 of 48 PageID# 2530




convenience.       From    the    limited     record       available,      the    only

reasonable conclusions at this point are that: (1) Plaintiffs,

who    are    Richmond    Division     residents,        will   be   inconvenienced

slightly by having to travel to the Newport News Division; and

(2)   all    defendants    will   benefit     from   a    transfer     because    they

will be able to defend this action and Solomon                       (in   which they

are effectively all named as defendants)® in one division instead

of two.      However, the AWL      Defendants cannot            prevail by showing

that transfer      will simply ''shift the balance of inconvenience

from one party to the other." Glob. Touch Sols., 109 F. Supp. 3d

at    890    (internal    quotations    omitted).        Therefore,    this      factor

weighs against transfer, even if minimally so.

            4. Interest of Justice


       This factor requires consideration of

              "public interest factors aimed at systemic
              integrity   and   fairness."   Most   prominent
              among the elements of systemic integrity are
              judicial   economy   and   the   avoidance   of
              inconsistent judgments. Fairness is assessed
              by considering docket congestion, interest
              in having local controversies decided at
              home,    knowledge     of    applicable    law,
              unfairness in burdening forum citizens with
              jury   duty,    and   interest    in   avoiding
              unnecessary conflicts of law.




® Red Stone is not a defendant in Solomon. However, the Solomon
Amended Complaint names the MacFarlane Group as a defendant, and
that entity was subsumed by Red Stone after merging with it, so
Red Stone is functionally a defendant in that case.

                                         33
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 34 of 48 PageID# 2531




Byerson, 467       F.   Supp. 2d         at 635 (internal citations                       omitted)

(quoting      Samsung    Elecs.,      386      F.        Supp.       2d    at   721).     Systemic

integrity ''must also . . . take account of a party's attempt to

game   the    federal     courts     through             forum       manipulation."        Samsung

Elecs., 386 F. Supp. 2d at 721. In some cases, "'the interest of

justice    may    be    decisive     in    ruling         on     a    transfer      motion    even

though the convenience of the parties and witnesses point in a

different      direction.'"        Id.    at    716        (quoting         Wright    &    Miller,

supra, § 3854); see also In re Vistaprint Ltd., 628 F.3d 1342,

1347   (Fed.     Cir.   2010)      ("[I]t      is    entirely             within    the   district

court's      discretion       to   conclude         that       in     a    given    case    the   §

1404(a) factors of public interest or judicial economy can be of

paramount     consideration, . . .             even       if the          convenience      factors

call for a different result." (internal citation and quotations

omitted)).

       The parties do not discuss factors like docket congestion,

interest in having local disputes decided at home, knowledge of

applicable law, burdens of jury duty, or possible conflicts of

law. Because the Newport News Division and the Richmond Division

are in the same district, those facts are not implicated in any

real way here. Instead, the AWL Defendants base their argument

on the need for judicial economy and avoidance of inconsistent

judgments      given    the    litigation           of    a    very       similar    proceeding,

Solomon, in the Newport News Division. That case is relevant to

                                               34
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 35 of 48 PageID# 2532




two issues that fall under the interest of justice heading: the

existence of a related action in a different district, and the

first-to-file rule. See Wenzel v. Knight, No. 3:14CV432, 2015 WL

222179, at *5 (E.D. Va. Jan. 14, 2015); Byerson, 467 F. Supp. 2d

at 635; Samsung Elecs., 386 F. Supp. 2d at 721-24. Even though

''the policies served by transfer are similar in both instances,"

those topics may be analyzed separately. Byerson, 467 F. Supp.

2d at 635. Thus, the Court will do so here,

            a. Related Action


      Section      1404(a)     is      generally          intended     to        avoid     a

"multiplicity of litigation resulting from a single transaction

or event." Wright & Miller, supra, § 3854; see also Cont^l Grain

Co.   V.   The    FBL-585,    364   U.S.      19,    26    (1960)     ("To       permit    a

situation in which two cases involving precisely the same issues

are simultaneously pending in different District Courts leads to

the   wastefulness of time, energy and money that § 1404(a) was

designed    to    prevent.").       Allowing        related      cases      to    proceed

simultaneously      on     separate     tracks       creates      a    "prospect          of

inconsistent      outcomes" that       does   not    exist    when    the    same      court


manages    both   cases.     Samsung    Elecs.,      386    F.   Supp.      2d    at   721.

Thus, "[t]ransfer and consolidation will serve the interest of

judicial economy in most cases where the related actions raise

similar or identical issues of fact and law." Id. As a result,

"'[t]he interest of justice weighs heavily in favor of transfer

                                         35
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 36 of 48 PageID# 2533




when    related    actions      are    pending    in    the    transferee        forum.'"

Wenzel, 2015 WL 222179, at *3 (quoting U.S. Ship Mqmt., Inc. v.

Maersk Line, Ltd., 357 F. Supp. 2d 924, 937 (E.D. Va. 2005)).

       The AWL Defendants argue that the pendency of Solomon in

the    Newport    News    Division     is enough       to counteract       Plaintiffs'

choice of forum and the convenience factors, all of which weigh

against      transfer     to   some     degree.    They       point   to    the     broad

similarities       between       the      underlying       facts,       claims,       and

defendants in both cases, asserting that one court should deal

with   the   overlapping issues to avoid the confusion                      that could

result from       inconsistent        rulings.    Plaintiffs,     however,        contend

that   the    differences      between    this    case    and   Solomon      limit   the


extent to     which      transfer     would serve the interest             of justice.

They also argue that the AWL Defendants' invocation of judicial

economy is questionable because it merely conceals their desire

to further transfer the litigation to the Western                          District of

Oklahoma—a type of forum shopping that is inconsistent with the

goals of Section 1404(a).

       The   obvious      similarities      between      this    case      and   Solomon


weigh in favor of transfer. As described above, both cases arise

from   the   exact same        factual background:        Curry's engineering           a

rent-a-tribe scheme, associating with the Tribe to form AWL as a

front for the MacFarlane Group's lending operation, relying on

Medley Capital and Medley Fund to fund the loans, and selling

                                          36
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 37 of 48 PageID# 2534




the MacFarlane Group to Red Stone once the threat of regulation

or prosecution became more apparent. The claims are also largely

the same, as both complaints allege                         RICO violations and                some

state law claims. In addition, given the common facts, many of

the same legal issues will need to be resolved in both cases,

including       whether the AWL             Defendants are protected                  by tribal

sovereign       immunity       and    whether       the    arbitration          provisions       in

AWL's loan agreements are enforceable against the plaintiffs.

And,     of     course,       ^^it   is     essential        to    avoid        any     risk     of

inconsistent rulings on class action issues, such as composition

of classes and sub-classes." Byerson, 467 F. Supp. 2d at 636.

Consequently, "wholly apart from the first-to-file rule," it is

best for one court to "assess the factors that point to factual

and legal overlap and sort out the class action issues that will

arise" in this case and in Solomon. Id.


       The     existence      of     some    differences       between         the    two     cases


does     not       outweigh    the     clear    benefits          of    transferring           this

action.       As    noted,     the    additional          defendants       in    Solomon        are

either    functionally          identical      to    a     defendant      in     this    case—as

with     the       MacFarlane        Group—or        closely       linked        to     multiple

defendants in this case—as with SOL, the Medley Defendants, the

Taubes,        GOLDPoint,      and     Middlemarch.         Similarly,          although        the

Solomon Plaintiffs assert EFTA and TILA claims that Plaintiffs

here   do      not,   the     central       claims    of    both       cases    are     the    RICO

                                               37
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 38 of 48 PageID# 2535




claims      based    on     collection       of     unlawful      debt.     Thus,     "the

similarities        are   more    significant       than . . . the         differences"

because the cases "involv[e] the same provision of federal law

and   the   same    basic      conduct     by," for      the   most   part,    the    same

defendants. Id. Finally, it is insignificant that the proposed

class    definition       in     Solomon    concerns       a   nationwide      class    of

consumers     whereas       the    class     definition        here   is    limited     to

Virginia      consumers.^         Because     the    Solomon       class      definition

includes Virginia consumers—indeed, one is a named plaintiff—any

decision     affecting         that   class       will    necessarily       affect     the

putative class in this case. In light of this overlap, "a single

district court hearing each of the related actions will be able

to ensure that all consumers adversely affected by the practices




^   Plaintiffs      argue      that   the    Court       should   not      consider    the
proposed class definitions because the absence of certification
makes that comparison premature. That is particularly important
here. Plaintiffs say, because the Solomon class is overly broad
and unlikely to be certified in its current form given the
variations in states' usury laws. Yet that potential result is
immaterial here; although at least one court has considered the
likelihood of certification when deciding whether to stay a case
based   on  the   first-to-file  rule,   see  Lac   Anh   Le  v.
Pricewaterhousecoopers LLP, No. C-07-5476 MMC, 2008 WL 618938,
at *1 (N.D. Cal. Mar. 4, 2008), transferring a case because of a
related action does not require the same commonality of parties
that a stay on first-to-file grounds does, compare id. with
Byerson, 467 F. Supp. 2d at 635-36. Moreover, this Court and
others have treated proposed class definitions as a relevant
factor in the transfer analysis, and the Fourth Circuit has not
required a different approach. See Byerson, 467 F. Supp. 2d at
636; see also Wenzel, 2015 WL 222179, at *4. Consequently, the
Court need not postpone its ruling on the transfer motion.
                                            38
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 39 of 48 PageID# 2536




complained of will be protected, and that none of their claims

will fall through the cracks that may exist between the classes

that ultimately are certified." Id. Therefore, the pendency of

Solomon    and    the    need    for    judicial      economy     point   strongly      in

favor of transfer to the Newport News Division.

     Plaintiffs'         forum       shopping       argument      does    not    dictate

otherwise. As an initial matter. Plaintiffs' premise is flawed

because    the    AWL    Defendants'         plan   can   barely    be    construed      as

forum shopping. Plaintiffs suggest that the AWL Defendants would

have simply moved to transfer the case directly to the Western

District of Oklahoma if they had no ulterior motives. But that

assertion ignores the possibility that Judge Jackson and this

Court,    looking       at   similar     motions        to    transfer    by    the     AWL

Defendants, might have reached opposite conclusions, forcing the

parties    to     litigate       similar      actions        in   different     states—a

situation that is likely worse for the AWL Defendants than the

current one. The AWL Defendants                    unsurprisingly chose to avoid

that risk by seeking transfer to the Newport News Division first

so that one court could              resolve       the issue.     Furthermore, it is

unclear    how    transfer      to     the    Newport     News    Division      could    be

intended   "to     enhance      the    factual       circumstances"       supporting      a

transfer to Oklahoma. Pis. 0pp. at 16. Nothing about the facts

of Solomon       or this case         would    be affected by transfer to the

Newport News Division, and consolidation there would seemingly

                                              39
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 40 of 48 PageID# 2537




weigh against transfer to Oklahoma because it would show that

some plaintiffs besides Solomon chose to sue in Virginia.

      In    any     event,     the      AWL     Defendants'          approach           does     not

frustrate the          purpose of the transfer statute.                         In    support of

that argument. Plaintiffs cite In re Craqar Industries, 706 F.2d

503 (5th Cir. 1983), which stated that, if a motion to transfer

is granted, ^^the transferee-district should accept the ruling on

the transfer as the law               of the    case and       should          not re-transfer

except under the most impelling and unusual circumstances or if

the     transfer       order     is    manifestly          erroneous."           Id.        at   505

(internal quotations omitted). But the court was referring to

the     practice       of    ^^tossing        cases     back        and        forth"       between

districts,       id.,    which    Plaintiffs          do   not      contend          will    happen

here.    Moreover,      because       venue    may    be    proper        in    more    than     one

district under Section 1404(a), Mitrano, 377 F.3d at 405, it is

reasonable for a transferee court to send a transferred case to

a third district that might be more convenient than either of

the first two          districts.      The    AWL     Defendants'         strategy is thus

consistent, not at odds, with the purpose of Section 1404(a). As

a result, the existence of Solomon still weighs heavily in favor

of transfer notwithstanding the AWL Defendants' motivations,

                b. First-to-File Rule


        Under    the    first-to-file         rule,        '^when    multiple          suits     are

filed      in    different     [f]ederal        courts       upon     the        same       factual

                                               40
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 41 of 48 PageID# 2538




issues, the first or prior action is permitted to proceed to the

exclusion      of another subsequently followed.'" Wenzel, 2015 WL

222179, at *5 {alteration in original) (quoting Allied-General

Nuclear Servs. v. Commonwealth Edison Co., 675 F.2d 610, 611 n.

1 (4th Cir. 1982)); see also Learning Network, Inc. v. Discovery

Commc'ns, Inc., 11 F. App'x 297, 300-01 (4th Cir. 2001). Similar

to the general approach            with respect to related actions, the

rule    helps avoid duplicative litigation and conserve judicial

resources, so "the actions being assessed need not be identical

if there is substantial overlap with respect to the issues and

parties." Byerson, 467 F. Supp. 2d at 635-36. "The rule is not

rigid, however, and courts have recognized an exception                            ^when

the    balance   of convenience      favors the         second    action.'" Wenzel,

2015 WL 222179, at *5 (quoting Learning Network, 11 F. App'x at

302);    see     also    Samsung    Elecs.,       386     F.     Supp.   2d   at    724

("[E]xceptions      to     the     rule     are   common         ^when   justice     or

expediency requires.'" (quoting Genentech, Inc. v. Eli Lilly &

Co., 998 F.2d 931, 937 (Fed. Cir. 1993))). Exceptions may also

arise in the case of bad faith, anticipatory suits, or forum

shopping. Samsung Elecs., 386 F. Supp. 2d at 724.

       The   AWL   Defendants       claim      that     the    first-to-file       rule

further supports a transfer because the complaint in Solomon was




                                          41
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 42 of 48 PageID# 2539




filed       two    months^®    before    Plaintiffs        initiated       this      case.   The

Solomon       Plaintiffs       make    the    same      argument,    asserting        that    the

close relationship between this case and Solomon make the more

tenuous connection between this case and Williams less important

in    the    first-to-file          framework.         Plaintiffs,     however,       view    the

presence of Williams in this Court as essentially dispositive of

the first-to-file question. They also contend that, even if the

rule    applies,        the    balance       of   convenience        exception       militates

against transfer because this case has progressed farther than

Solomon.


       The close relationship between this case and Solomon weighs

in    favor       of transfer.        Plaintiffs        cannot seriously        dispute       the

similarity between this case and Solomon. Instead, they respond

to the AWL Defendants and the Solomon Plaintiffs by pointing to

Williams—which          was    filed    in    June      2017,   well     before   Solomon—as

the    true       standard     to    which   Solomon      should     be   compared.          This

argument relies on Wenzel, which involved a motion to transfer




      Where,      as   here,    an    amended      complaint      relates      back    to     the
original complaint, see Fed. R. Civ. P. 15(c)(1), the filing
date of the original complaint is the applicable date for first-
to-file purposes, see Wenzel, 2015 WL 222179, at *5 n.9.

     Plaintiffs        also    assert    that      Darlene      Gibbs,    et   al.    v.   Plain
Green, LLC, et al.. No. 3:17-cv-495 (''Gibbs'") bears on the
first-to-file analysis. However, Gibbs is pending before Judge
Lauck, not this Court. Given that the Court will not decide any
of the issues in that case, it would not be any more efficient
for this case to remain here in light of Gibbs.

                                                  42
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 43 of 48 PageID# 2540




an   action    that    had       facts    similar      to    two    other    cases:    Moses,

which was pending in another district, and DCG & T, which was

pending     before    the    court       considering        the     motion    to   transfer.

Wenzel, 2015 WL 222179, at *5. The court noted that DCG & T had

been   filed    before      Moses,       but concluded        that the first-to-file

analysis applied to the latter instead of the                               former because

Moses "raises substantially the same legal claims against the

same group of defendants and . . . was filed first." Id. It also

noted that, although "[t]here are some efficiency gains to be

had by keeping DCG & T and [Wenzel] in the same court, . . . the

first-to-file rule does not dictate that DCG & T takes priority

over      Moses."      Id.        Nonetheless,          recognizing          the      "strong

relationship" between the claims in DCG & T and the claims in

Wenzel,     the     court     concluded         that    "the       overlap    between      the

parties and factual issues plays into the efficient resolution

of   both     cases," and         used    that factor,         among    others,       to   deny

transfer. Id. at *6.


       Some    elements      of    Wenzel      are   instructive.      Plaintiffs'         core

argument      is    that     the    first-to-file           rule     cannot    apply       here

because     Williams       was    filed       before   Solomon.      But,    even     if   this

case is related to Williams, it is far more closely related to

Solomon.      The    plaintiffs          in    Wi11iams—who         include    Hengle       and

Williams—may        have     asserted         similar       RICO,    usury,    and     unjust

enrichment claims to those in this case, but Williams involves a

                                                43
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 44 of 48 PageID# 2541




different         tribe,         different         tribal      lending    businesses,       and        a

different         ''architect"         of    the     rent-a-tribe        scheme    at     issue       in


that case.          As a     result,         the    facts and      the    defendants in this

case    and       Williams       are    completely         different.      This    disparity is

thus greater than in Wenzel, where the action to be transferred

had    the   same      defendants        and    some      of the    same facts      as    DCG    &    T.


See 2015 WL 222179, at *5. The connection between this case and

Solomon, however, is substantial. Consequently, even if might be

somewhat efficient to keep this case and Williams in the same

court,       Williams        should      not take         priority over          Solomon    in       the

first-to-file analysis simply because it was filed first. See

id.


        Key factual distinctions, however, limit the applicability

of    the     rest      of    Wenzel         here.    The      court     only    relied    on        the

pendency of            DCG   &    T    before the          court to deny the             motion       to

transfer because there was a "strong relationship" between both

cases       and    a    clear      "overlap         between      the     parties    and    factual

issues." Id. at *6. Here, on the other hand, the relationship

between       this      case      and    Williams         is     relatively      weak,     and       the

parties and factual issues barely overlap. As a result, keeping

those       cases      before         this    Court       does    not    serve    the     goals       of

judicial efficiency because a decision based on the unique facts

of one case is unlikely to have much effect in the other case.




                                                     44
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 45 of 48 PageID# 2542




Accordingly, the Court does not give the pendency of Williams

much weight when considering the first-to-file rule.

       The relative lack of progress in Solomon is a more notable

factor. When assessing the balance of convenience in the context

of    the   first-to-file        rule, ''^courts           have    declined      to    defer   to

the first-filed action when little if anything has been done to

advance that action to trial.'" Id. (quoting Affinity Memory &

Micro,      Inc.    v. K    &    Q Enters., Inc., 20              F.    Supp.    2d    948,    954

(E.D. Va. 1998)). Based on a review of the Solomon docket alone.

Plaintiffs appear to be right that the case has not proceeded

very far. Although the complaint was filed on December 15, 2017,

the Solomon Plaintiffs and the AWL Defendants jointly moved on

February 23, 2018 to allow the filing of an amended complaint

and an extended briefing schedule for responsive motions. EOF

Nos. 35, 37 (Docket No. 4:17-cv-145). After the Solomon Amended

Complaint was timely filed on March 9, defendants filed various

motions      in    response      on     April    8   and    9.     However,      the    Solomon

Plaintiffs' responses to those motions are not due until June 8.

See    ECF    No.    92    (Docket       No.    4:17-cv-145).           In   contrast,        most

responsive motions to the Complaint in this case were ripe as of

May    25,    and    the    Court       has     ordered      the       parties    to    conduct

jurisdictional            discovery       regarding         the        sovereign       immunity

arguments         raised    in    the    AWL     Defendants'           and   Curry's     unripe

motions to dismiss. See ECF No. 76. The ""^time and energy spent


                                                45
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 46 of 48 PageID# 2543




by this Court in advancing this case" to trial at a faster pace

than    the    court       in    Solomon       may    influence     whether         convenience

prevents      the       first-to-file       rule      from    favoring        transfer        here.

Wenzel, 2015 WL 222179, at *6.

       Nonetheless, two factors suggest that the progress of this

case compared to Solomon should not affect the transfer analysis

much, if at all. First, the expected ripe date of the responsive

motions in Solomon is not meaningfully later than the equivalent

motions    here,        and     can   be   attributed        to   the   sizable        number    of

defendants         in   that    case    more    than   the    court's        failure     to    move


the    case    forward.         In     addition,      although      Plaintiffs         tout     the

imminent jurisdictional                 discovery      deadlines        in   this      case,    the

AWL    Defendants'         and        Curry's    motions      to    stay      jurisdictional

discovery indicate that the actual progress of such discovery

might be limited.

       Second,          progress       cannot    be    measured         in   a    vacuum.       For

example,      where       plaintiffs        have      acquired     more      information         in

support       of    their       claims      before      filing      suit,        the    lack     of

subsequent discovery does not necessarily mean that the case has

not made progress; it may simply reflect that those plaintiffs

need less discovery to reach the same level of progress as other

plaintiffs who acquired little to no relevant evidence before

initiating litigation. The latter seems to be true here. The

Solomon    Plaintiffs           note    that    they filed         their      complaint        only

                                                46
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 47 of 48 PageID# 2544




after an eleven-month investigation consisting of interviews and

communications       with    third      parties    and   victims     to     uncover   the

facts of Curry's alleged rent-a-tribe scheme. As a result, the

complaint contained thorough allegations about every part of the

operation,      which       the     Solomon     Amended      Complaint        has     only

enhanced. In comparison, the facts alleged in the Complaint here

are relatively sparse and seem to be supported by public filings

and    news    articles,          not   independent      research.        Indeed,     the

Complaint bears a close resemblance to complaints in other rent-

a-tribe cases in the Richmond Division, like Williams and Gibbs.

Nothing prohibits Plaintiffs or their counsel from using a form

complaint,     but their      claims of         progress     ring   hollow     when    the

discovery     they    have    purportedly         achieved    was    necessitated       in

part   by     the    Complaint's        simplicity.      Given      these    mitigating

factors, the Court concludes that the statuses of this case and

Solomon do not meaningfully affect the first-to-file analysis.

Even if they do, the effect is minor, and is far outweighed in

the interest of justice framework by the relatedness of Solomon,

which provides an independent basis for transfer to the Newport

News Division. See Byerson, 467 F. Supp. 2d at 636. The interest

of justice, therefore, still weighs substantially in favor of

transfer.


       Considering      all       the   Section     1404(a)      factors,      although

Plaintiffs' choice of forum and the convenience of the witnesses


                                           47
Case 3:18-cv-00100-REP Document 114 Filed 06/15/18 Page 48 of 48 PageID# 2545




and parties weigh against transfer or are neutral, the interest

of   justice   clearly    tilts    the    balance    towards    transfer.

Accordingly, the Court will grant the AWL Defendants' motion to

transfer.


                               CONCLUSION


     For the foregoing reasons, the         MOTION   TO TRANSFER TO THE

NEWPORT NEWS DIVISION BY AWL, INC., AMERICAN WEB LOAN, INC. AND

RED STONE, INC. (ECF No. 3) and NATIONWIDE AWL CLASS PLAINTIFFS'

MOTION FOR LIMITED INTERVENTION (EOF No. 77) will be granted.

     It is so ORDERED.




                                              /s/
                            Robert E. Payne
                            Senior United States District Judge


Richmond, Virginia
Date: June /T. 2018




                                    48
